   Case: 1:18-cv-05369 Document #: 165 Filed: 06/10/20 Page 1 of 3 PageID #:4214




                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,

                              Plaintiff,


                        v.

                                                       Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.;                            JURY TRIAL DEMANDED
    BLIP NETWORKS, LLC;
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and
    DMITRY MOISEEV

                              Defendants.


                             JOINT WRITTEN STATUS REPORT

       Plaintiff Ubiquiti Inc. (f/k/a Ubiquiti Networks, Inc.) (“Ubiquiti”), by and through its

undersigned counsel, and Defendants Cambium Networks, Inc., Cambium Networks, Ltd., Blip

Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed and Dmitry Moiseev

(“Defendants”) (collectively Defendants and Ubiquiti are referred to as the “Parties”), by and

through their undersigned counsel, respectfully submit this Joint Written Status Report including

a proposed case schedule moving forward following the COVID-19 General Order extensions.

       Now that the COVID-19 General Order extensions have expired, the Parties propose

extending the dates in this case by the approximately the combined amount of time provided by

the first, second, and third amended COVID-19 General Orders (77 days) plus additional time to

work around holidays and to reflect delays in certain discovery caused by the General Orders.




                                               1
Case: 1:18-cv-05369 Document #: 165 Filed: 06/10/20 Page 2 of 3 PageID #:4215




 Deadline                          Previous Date        Proposed Date
 Motion for leave to add parties   May 19, 2020         August 4, 2020
 Fact discovery close              August 18, 2020      December 1, 2020
 Burden of proof expert            September 15, 2020   January 15, 2021
 disclosures
 Rebuttal expert disclosures       October 13, 2020     February 12, 2021
 Expert depositions                November 10, 2020    February 26, 2021
 Dispositive motions               December 22, 2020    March 26, 2021




                                          2
   Case: 1:18-cv-05369 Document #: 165 Filed: 06/10/20 Page 3 of 3 PageID #:4216




Dated: June 10, 2020                                 Respectfully submitted,



FOX, SWIBEL, LEVIN & CARROLL, LLP                  BAKER BOTTS L.L.P.

/s/ Steven J. Reynolds                             /s/ G. Hopkins Guy, III
David Koropp (ARDC #6201442)                       G. Hopkins Guy, III (CA Bar No. 124811)
dkoropp@foxswibel.com                              Jon V. Swenson (CA Bar No. 233054)
Erik J. Ives (ARDC #6289811)                       Karina Smith (CA Bar No. 286680)
eives@foxswibel.com                                1001 Page Mill Road
Steven J. Reynolds (ARDC #6293634)                 Building One, Suite 200
sreynolds@foxswibel.com                            Palo Alto, CA 94304-1007
Steven L. Vanderporten (ARDC # 6314184)            650.739.7500 (Telephone)
svanderporten@foxswibel.com                        650.739.7699 (Facsimile)
Fox Swibel Levin & Carroll LLP                     hop.guy@bakerbotts.com
200 W. Madison St., Suite 3000                     jon.swenson@bakerbotts.com
Chicago, IL 60606                                  karina.smith@bakerbotts.com


Attorneys for Plaintiff Ubiquiti Inc., f/k/a       Local Counsel:
Ubiquiti Networks, Inc.
                                                   James P. Fieweger (Bar ID No. 6206915)
                                                   Michael Best & Friedrich, LLP
                                                   444 W. Lake Street. Suite 3200
                                                   Chicago, IL 60606
                                                   312.222.0800 (Telephone)
                                                   jpfieweger@michaelbest.com

                                                   Arthur Gollwitzer, III (Bar ID No. 6225038)
                                                   Michael Best & Friedrich, LLP
                                                   2801 Via Fortuna, Suite 300
                                                   Austin, Texas 78746
                                                   512.640.3160 (Telephone)
                                                   agollwitzer@michaelbest.com

                                                   Attorneys for Defendants Cambium Networks,
                                                   Inc. et. al




                                               3
